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                         IN THE UNITED STATES DISTRICT COURT
                           FOR THE DISTRICT OF DELAWARE

    ACADIA PHARMACEUTICALS INC.,                     )
                                                     )
                  Plaintiff,                         )
                                                     )
                       v.                            )   C.A. No. 1:20-cv-00985-GBW
                                                     )
                                                     )   (Consolidated)
    AUROBINDO PHARMA LIMITED, et al.,                )
                                                     )
                  Defendants.                        )


      MSN’S MOTION FOR SUMMARY JUDGMENT OF INVALIDITY OF
          U.S. PATENT NO. 7,601,740 FOR DOUBLE PATENTING

       Pursuant to Federal Rule of Civil Procedure 56, the Stipulation and Order entered on April

10, 2023 [D.I. 256], and the Stipulation and Order of Infringement and Narrowing Issues [D.I.

257] entered on May 2, 2023, MSN Laboratories Pvt. Ltd. and MSN Pharmaceuticals, Inc.

(collectively, “MSN”) move this Court for an Order granting summary judgment in favor of MSN

on the invalidity of claim 26 of U.S. Patent No. 7,601,740.

       A Proposed Order granting the motion is attached hereto. MSN’s motion is supported by

its Opening Brief in Support of Its Motion for Summary Judgment of Invalidity of U.S. Patent No.

7,601,740 for Double Patenting [D.I. 259], the Declaration of Brent Batzer, esq. and all exhibits

thereto [D.I. 259-1, 259-2], and the Joint Statement of Undisputed Facts [D.I. 258] including all

exhibits thereto [D.I. 258-1 through D.I. 258-13].


Dated: May 15, 2023
                                                     SEITZ, VAN OGTROP & GREEN, P.A.

                                                     /s/ James S. Green, Jr.
                                                     James S. Green, Jr. (DE 4406)
                                                     222 Delaware Avenue, Suite 1500
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                                          Wilmington, DE 18901
                                          302.888.7607
                                          jsgreen@svglaw.com

                                          UPADHYE TANG LLP
                                          Shashank Upadhye (pro hac vice)
                                          Yixin Tang (pro hac vice)
                                          Brent Batzer (pro hac vice)
                                          109 Symonds Drive, #174
                                          Hinsdale, IL 60522
                                          312.598.2610
                                          shashank@ipfdalaw.com
                                          yixin@ipfdalaw.com
                                          brent@ipfdalaw.com

                                          Counsel for MSN




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